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9                           UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11    In re: ZF-TRW Airbag Control Units     )   Case No.: 2:19-ml-02905-JAK-FFM
12    Products Liability Litigation          )
                                             )   MDL No. 2905
13    ALL CASES                              )
14                                           )   Judge: John A. Kronstadt
                                             )
15                                           )   JOINT STATUS REPORT FOR
16                                           )   SEPTEMBER 14, 2020 STATUS
                                             )   CONFERENCE
17                                           )
18                                           )   Date: September 14, 2020
                                             )   Time: 1:30 p.m.
19                                           )   Dept.: Courtroom 10B
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          JOINT STATUS REPORT FOR SEPTEMBER 14, 2020 CONFERENCE
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1           Pursuant to the Court’s June 16, 2020 Order (Dkt. 143), issued following the June
2    15, 2020 Status Conference, the Parties submit this Joint Status Report reflecting their
3    collective and/or respective views regarding certain matters. The Parties identify below
4    the issues on which they have reached agreement. Where the Parties have been unable to
5    reach agreement, they identify their respective positions and/or proposals for making
6    further progress. 1
7    I.     Brief Statement as to Whether and How the September 14 Status Conference
            Should Proceed
8
9           Pursuant to the Court’s June 16, 2020 Order, the Parties have conferred regarding

10   their views as to whether the September 14 status conference should proceed, and if so, in

11   what format. Dkt. 143 at 2. The Parties agree that, subject to the Court’s availability, the

12   September 14 status conference should proceed, particularly because the Parties and the

13   Court will convene that day for the hearings regarding the ZF Defendants’ pending motion

14   to stay discovery (Dkt. 188) and the Toyota Defendants’ pending motion to stay and to

15   sever (Dkt. 191) in any event. Further, in light of the continued closure of the courthouses

16   in the Central District of California pursuant to General Order No. 20-09, the Parties jointly

17   propose that the status conference be held via videoconference or, alternatively,

18   telephonically.

19   II.    Status of Discovery
20          Plaintiffs served their First Sets of Requests for Production on certain domestic

21   Defendants on June 9, 2020. 2 Those Defendants have all timely served responses and/or

22
     1
         Defendants state that their participation in the court-ordered process of meeting and
23   conferring and preparing this joint status report does not prejudice or waive any challenge
24   to this Court’s personal jurisdiction as to the claims made by any Plaintiff or class.
     2
25      Those Defendants are ZF Active Safety and Electronics US LLC, ZF Passive Safety
     Systems US Inc., ZF Automotive US Inc. (f/k/a TRW Automotive Inc.), ZF TRW
26   Automotive Holdings Corp., ZF North America, Inc., American Honda Motor Co., Inc.,
     Honda of America Mfg., Inc., Honda R&D Americas, Inc., Mitsubishi Motors North
27   America, Inc., FCA U.S., LLC, Toyota Motor North America, Inc., Toyota Motor Sales,
     U.S.A., Inc., Toyota Motor Engineering & Manufacturing North America, Inc., Hyundai
28   Motor America, Inc., and Kia Motors America, Inc.
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1    objections, either on July 9, 2020 pursuant to Federal Rule of Civil Procedure 34 or on a
2    later date pursuant to agreement between the Parties.         To the extent there are any
3    disagreements regarding the responses and objections, the Parties are in the process of
4    meeting and conferring. 3 In the event the Parties reach an impasse on any discovery issue,
5    the Parties will raise those disputes with the Magistrate Judge. 4
6          Additionally, on August 7, 2020, Plaintiffs served requests for jurisdictional
7    discovery on certain Foreign Defendants. 5 Thereafter, on August 19, 2020, Plaintiffs
8    served requests for jurisdictional discovery on Fiat Chrysler Automobiles, N.V.; and on
9    August 24, 2020, Plaintiffs served requests for jurisdictional discovery on
10   STMicroelectronics, N.V. and STMicroelectronics International, N.V. On August 27,
11   2020, ZF Friedrichshafen AG, ZF Holdings B.V., Honda Motor Co., Ltd., Honda R&D
12   Co., Ltd., Hyundai Mobis Co., Ltd., Hyundai Motor Company Ltd., Kia Motors
13   Corporation, Mitsubishi Motors Corporation, and Toyota Motor Corporation informed
14   Plaintiffs that pursuant to Paragraph 3(c) of the Court’s Orders approving the Stipulation
15   Regarding Service of Process on Foreign Defendants (Dkts. 126, 170), they object to
16   Plaintiffs’ entitlement to jurisdictional discovery and therefore would not be responding to
17   those requests. Plaintiffs and these certain Foreign Defendants will follow the procedures
18   set forth in the above-mentioned Court Orders (Dkts. 126, 170) to resolve the dispute in
19   connection with such discovery. Pursuant to the Court’s Orders approving the Stipulation
20
21
     3
        By participating in the discovery process, and identifying any potential documents it
22   may be willing to produce in response to Plaintiffs’ document requests, no Defendant
23   waives its argument, if any, that discovery should be stayed, and that discovery is
     premature pending resolution of the motions to stay (Dkts. 188, 191), which are currently
24   scheduled for hearing on September 14, 2020.
     4
25     On August 24, 2020, Plaintiffs served their First Set of Requests for Production on
     STMicroelectronics, Inc.
26   5
        The Foreign Defendants are ZF Friedrichshafen AG, ZF Holdings B.V., Honda Motor
27   Co., Ltd., Honda R&D Co., Ltd., Hyundai Mobis Co., Ltd., Hyundai Motor Company Ltd.,
     Kia Motors Corporation, Mitsubishi Motors Corporation, and Toyota Motor Corporation.
28   See Dkt. 126.
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1    Regarding Service of Process on the Foreign STMicro Defendants (see Dkt. 165), the
2    foreign STMicro Defendants have until September 14, 2020 to inform Plaintiffs whether
3    they object to Plaintiffs’ jurisdictional discovery requests in their entirety. 6
4           Finally, on August 19, 2020, Toyota Motor Sales U.S.A. Inc. served its first set of
5    requests for production on the Toyota Plaintiffs requesting documents related to their
6    purchase of their vehicles. The discovery was served regarding purchase documents to
7    determine whether the Toyota Plaintiffs are subject to mandatory arbitration. The Toyota
8    Plaintiffs will serve their objections and/or responses to such discovery in accordance with
9    the Federal Rules but note that Toyota did not file any arbitration motion by the July 15,
10   2020 deadline set by the Court. (See Dkt. 143.) And, Plaintiffs note that Toyota had ample
11   opportunity and time to serve Requests for Production of the purchase agreements
12   immediately following the Court’s lifting of the discovery stay in June 2020 but chose not
13   to.
14   III.   Resolving Status of Plaintiffs in Underlying Lawsuits Who Do Not Assert
            Claims in Plaintiffs’ Consolidated Class Action Complaint
15
            There are nearly 100 individuals who originally asserted claims as part of the
16
     underlying lawsuits that have been consolidated as part of this multi-district litigation, but
17
     who are not proposed class representatives in the Consolidated Class Action Complaint
18
     (including all of the plaintiffs in at least 15 of the underlying lawsuits). Defendants believe
19
     that those original plaintiffs’ claims have been superseded by the filing of the Consolidated
20
     Class Action Complaint and are no longer operative. Defendants believe the claims of
21
     these plaintiffs should be dismissed without prejudice if they are no longer participating in
22
     the proceedings consolidated in this MDL. Because the STMicro Defendants and Fiat
23
     Chrysler Automobiles, NV were not named in any of the underlying actions, they contend
24
     that none of these former plaintiffs have brought claims against them in any forum.
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         Fiat Chrysler Automobiles, N.V. is not a party to the stipulations regarding
28   jurisdictional discovery.
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1          Plaintiffs contend that any original plaintiffs in transferred actions who are not
2    proposed representative plaintiffs in the Consolidated Class Action Complaint are de facto
3    putative class members whose claims, like any other putative class members’ claims, are
4    being pursued via the Consolidated Class Action Complaint. Plaintiffs have advised
5    Defendants that the transferred actions have been administratively closed by this Court’s
6    September 6, 2019 Order (Dkt. 4) pending resolution of this MDL and therefore no
7    additional action with respect to such transferred cases is necessary at this time.
8          The Parties are meeting and conferring further in an effort to resolve their
9    disagreements over this issue, and will be prepared to discuss their respective views on this
10   issue at the September 14, 2020 status conference.
11   IV.   Procedures for Motion to Dismiss Hearing
12         Pending before the Court are Defendants’ Joint Motion to Dismiss (Dkt. 208), as
13   well as eight separate Motions to Dismiss (Dkts. 209, 212, 213, 214, 219, 220, 230, 241).
14   Briefing on these motions is ongoing, and the hearing is set for January 25, 2021 (Dkt.
15   223). The Parties respectfully request that the Court discuss its preferred structure for this
16   hearing, including the order of argument and time allotments, if any, during the September
17   14, 2020 status conference or at another status conference in advance of the January 25,
18   2021 hearing date.
19   V.    Procedures for Future Hearings
20         The Court has previously indicated that it would establish “[a] procedure for setting
21   Motions for hearing.” (Dkt. 5 ¶ 6(e).) In order to streamline the process and avoid
22   burdening the Court with additional filings, the Parties jointly propose establishing a
23   procedure whereby a moving party can notice a motion for hearing on either: (1) the next
24   earliest date on the Court’s Motion Calendar; or, (2) on the same date as the next regularly-
25   scheduled case status conference. This procedure would reduce the filing of stipulations
26   to reschedule and advance hearings, such as the Parties’ July 20, 2020 stipulation to
27   advance the hearings on the pending motions to stay to September 14, 2020 (Dkt. 196).
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1    VI.   Other Issues Requiring the Court’s Assistance
2          The Parties do not have any other issues requiring the Court’s assistance.
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         JOINT STATUS REPORT FOR SEPTEMBER 14, 2020 CONFERENCE
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         JOINT STATUS REPORT FOR SEPTEMBER 14, 2020 CONFERENCE
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          JOINT STATUS REPORT FOR SEPTEMBER 14, 2020 CONFERENCE
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1                              SIGNATURE OF CERTIFICATION
2          Pursuant to Civil L.R. 5-4.3.4(a)(2)(i), the filer attests that all other signatories listed,
3    and on whose behalf the filing is submitted, concur in the filing’s content and have
4    authorized the filing.
5
6     DATED: August 31, 2020                     /s/ Matthew T. Regan, P.C.
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8                                                ZF Automotive US Inc., ZF TRW Automotive
                                                 Holdings Corp., ZF North America, Inc., ZF
9                                                Friedrichshafen AG, and ZF Holdings B.V.
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1                                CERTIFICATE OF SERVICE
2            I certify that on August 31, 2020, a copy of the foregoing JOINT STATUS REPORT
3    FOR SEPTEMBER 14, 2020 STATUS CONFERENCE was served electronically through
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5    list.
6     DATED: August 31, 2020                  /s/ Matthew T. Regan, P.C.
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                                              US LLC, ZF Passive Safety Systems US Inc.,
8                                             ZF Automotive US Inc., ZF TRW Automotive
9                                             Holdings Corp., ZF North America, Inc., ZF
                                              Friedrichshafen AG, and ZF Holdings B.V.
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